               Exhibit DDD




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Form        990                                                                                                                                                                                       OMB No. 1545-0047


                                                            Return of Organization Exempt From Income Tax                                                                                                2022
                             Under section 501(c), 527, or 4947(a)(1) of the Internal Revenue Code (except private foundations)
Department of the Treasury              Do not enter social security numbers on this form as it may be made public.                        C~p~n t~-i Pub,Ii~                                  gu



Internal Revenue Service             Go to www.irs.gov/Form990 for instructions and the latest information.                                   In5PCCtion
A For the 2022 calendar year, or tax year beginning                                    , 2022, and ending                             , 20
B Check if applicable:     C                                                                                           D Employer identification number
                 Address change            NORTH CAROLINA BLACK ALLIANCE, INC.                                                                                                     XX-XXXXXXX
                 Name change               PO BOX 27886                                                                                                                       E Telephone number

                 Initial return            RALEIGH, NC 27611                                                                                                                        (919) 833-6394
                 Final return/terminated

                 Amended return                                                                                                                                               G Gross receipts $            4,   033, 878
                 Application pending       F Name and address of principal officer:                                                                             H(a) Is this a group return for subordinates?     Yes     X No
                                                                                                  Courtney A.                  Crowder
                                           Same As C Ak30Ve                                                                                                     H(b) Are all subordinates included?               Yes       No
                                                                                                                                                                     If "No," attach a list. See instructions.
I            Tax-exempt status: [ j 501(c)(3) U 501(c) (                                      )     (insert no.)             4947(a)(1) or            527
J            Website:         www. ncbeoalliance . or                                                                                                           H(c) Group exemption number
K            Form of organization:
                                           [Xj
                                                 Corporation         Trust            Association           Other                          L Year of formation:       2000             M State of legal domicile: NC
        ae i           jSummary
             1      Briefly describe the organization's mission or most significant activities: To
                                                                      bring black-elected officials,
                    --------------------------------------                  -----------------------
     ~, ,            ipm rtant partners ------------------
                                         and those interested in public policy
                                                                           -      toyether_from --------
                                                                                                    across the _
                     state to participate_ in a conference focused on social and economic empowerment
     _''             and public policy initiatives that improves the African-American
        2 Check this box      ❑ if the organization discontinued its operations or disposed of more than 25% of its net assets.
    c   3 Number of voting members of the governing body (Part VI, line 1a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  3                7
    ad
        4 Number of independent voting members of the governing body (Part VI, line 1 b). . . . . . . . . . . . . . . . . . . . . . .                              4                0
        5 Total number of individuals employed in calendar year 2022 (Part V, line 2a) . . . . . . . . . . . . . . . . . . . . . . . . . .                         5               10
        6 Total number of volunteers (estimate if necessary) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6                0
    Q, 7a Total unrelated business revenue from Part Vlll, column (C), line 12 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 7a              0,
         b Net unrelated business taxable income from Form 990-T, Part I , line 11 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   7b              0.
                                                                                                                                                Prior Year            Current Year
        8 Contributions and grants (Part VII I , line 1h). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     2, 154, 745.          3, 963, 428.
        9 Program
              g     service revenue(Part VII I , line 2g) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               46, $70.          70, 450.
    > 10 Investment income (Part VII I , column (A), lines 3, 4, and 7d) . . . . . . . . . . . . . . . . . . . . . . . .
    cc 11 Other revenue (Part VIII , column (A), lines 5, 6d, Sc, 9c, 10c, and l le). . . . . . . . . . . . . . . .
       12 Total revenue —add lines 8 through 11 (must equal Part VII I , column (A), line 12). . . . .                                           2,201,615.            4, 033, $78.
       13 Grants and similar amounts paid (Part IX, column (A), lines 1-3) . . . . . . . . . . . . . . . . . . . . . .                                193, 896.           271, 071.
       14 Benefits paid to or for members (Part IX, column (A), line 4) . . . . . . . . . . . . . . . . . . . . . . . .
       15 Salaries, other compensation, employee benefits (Part IX, column (A), lines 5-10) . . . . .                                                  213, 133.          501, 471.
            16a Professional fundraising fees (Part IX, column (A), line lie). . . . . . . . . . . . . . . . . . . . . . . . .
    a'I,
    k            b Total fundraising expenses (Part IX, column (D), line 25)                                                                 61, 885.
    t"', 17         Other expenses (Part IX, column (A), lines l la-1 ld, l lf-24e) . . . . . . . . . . . . . . . . . . . . . . . . .                                         764, 582.                     2, 070, 667.
         18         Total expenses. Add lines 13-17 (must equal Part IX, column (A), line 25). . . . . . . . . . . . ..1,                                                     171 611.                       2 843 209.
         19         Revenue less expenses. Subtract line 18 from line 12 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  1,030,004.                        1, 190, 669.
                                                                                                                                                                    Beginning of Current Year              End of Year
            20 Total assets (Part X, line 16) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 2, 525, 335.                    4, 018, 953.
    Qa'', 21        Total liabilities (Part X, line 26) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 19, 492.                     322, 441.
            22      Net assets or fund balances. Subtract line 21 from line 20 . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      2, 505, 843.                    3, 696,512.
    Part fi           I Signature Block
Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true, correct, and
complete. Declaration of preparer (other than officer) is based on all information of which preparer has any knowledge.


                          Signature of officer                                                                                                                       Date
Sign
Here                       COURTNEY A. CROWDER                                                                                                               Executive Director
                          Type or print name and title

                           Print/Type preparer's name                                 Preparer's signature                                       'Date                        Check
                                                                                                                                                                                         Li   if    PTIN

Paid     RASHID WILLIAMS             RASHID WILLIAMS                                                                                                                          self-employed         xxxxxl838
Preparer Firm's name    Smart Choice Tax Service LLC
Use Only Firm's address 2300 W. Meadowview Rd Ste 214                                                                                                                         Firm'sSIN xxxxx7030
                        Greensboro, NC 27407                                                                                                                                  Phone no. (336) 275-6266
May the IRS discuss this return with the preparer shown above? See instructions . . . . . . . Witness:
                                                                                              . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . U Yes    U No
BAA For Paperwork Reduction Act Notice, see the separate instructions.              M. Bass 30(b)(6)  TEEAo1o1L          09/01/22                               Form 990 (2022)


                                                                                                                                                  Ex. 2
                                                                                                                                            3/25/2025 D. Myers Byrd

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